           Case 1:20-cv-00797-VEC Document 39 Filed 11/05/20 Page 1 of 1



                                                                          USDC SDNY
UNITED STATES DISTRICT COURT
                                                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK
                                                                          ELECTRONICALLY FILED
 -------------------------------------------------------------- X         DOC #:
  ZAHIRAH MEDINA,                                               :         DATE FILED: 11/5/2020
                                              Plaintiff,        :
                                                                :
                            -against-                           :
                                                                :       20-CV-797 (VEC)
                                                                :
 THE CITY OF NEW YORK, GORDON’S AUTO :                                      ORDER
 SALES, LLC, New York City Police Department :
 Officer CHRISTOPHER WINTERMUTE Shield :
 No. 3805, and Police Officers JOHN DOES 1, 2, 3, :
 etc. (the name John Doe being fictitious as the true :
 names of said officers are currently not known), all :
 of whom are sued in their individual capacities,               :
                                                                :
                                              Defendants. :
 -------------------------------------------------------------- X
VALERIE CAPRONI, United States District Judge:

        WHEREAS Plaintiff filed this lawsuit on January 29, 2020 (Dkt. 1);

        WHEREAS on June 22, 2020, Plaintiff filed an affidavit reflecting timely service of a

summons and the Complaint on Defendant Gordon’s Auto Sales, LLC, (Dkt. 21);

        WHEREAS Defendant failed to appear, answer, or otherwise respond to the Complaint

by the July 24, 2020 deadline to do so, see Fed. R. Civ. P. 12(a)(1);

        IT IS HEREBY ORDERED: No later than December 7, 2020, Plaintiff must apply for a

default judgment against Defendant Gordon’s Auto Sales, LLC, consistent with the procedures

described in Attachment A to the undersigned’s Individual Practices in Civil Cases.



SO ORDERED.
                                                              _________________________________
Date: November 5, 2020                                              VALERIE CAPRONI
      New York, NY                                                United States District Judge




                                                   Page 1 of 1
